






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00091-CR






Lee J. Chernoff, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 368TH JUDICIAL DISTRICT


NO. 06-276-K368, HONORABLE BURT CARNES, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Appellant's motion to withdraw his notice of appeal is granted.  See Tex. R. App. P.
42.2(a).  The motion to issue the mandate is also granted.  The motion for additional time to file the
reporter's record is dismissed.

The appeal is dismissed.



				__________________________________________

				G. Alan Waldrop, Justice

Before Justices Patterson, Pemberton and Waldrop

Dismissed on Appellant's Motion

Filed:   July 26, 2007

Do Not Publish


